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       EXPERIAN INFORMATION SOLUTIONS,
   8   INC.
   9
                           UNITED STATES DISTRICT COURT
 10
                         CENTRAL DISTRICT OF CALIFORNIA
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 12
       BRYCE ABBINK, individually and          Case No. 8:19-cv-01257-JFW-PJWx
 13
       on behalf of all others similarly       Hon. John F. Walter
 14    situated,
                       Plaintiff,              DEFENDANT EXPERIAN
 15                                            INFORMATION SOLUTIONS
             v.                                INC.’S NOTICE OF
 16                                            INTERESTED PARTIES
 17    EXPERIAN INFORMATION
       SOLUTIONS, INC., et al.
 18                                            Complaint Filed: June 21, 2019
                      Defendants.
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                                                              NOTICE OF INTERESTED PARTIES
                                                               Case No. 8:19-cv-01257-JFW-PJWx
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  1          Pursuant to Local Rule 7.1-1, the undersigned, counsel of record for Experian
  2    Information Solutions, Inc. (“Experian”), certifies that the following listed parties
  3    may have a pecuniary interest in the outcome of this case. These representations
  4    are made to enable the Court to evaluate possible disqualification or recusal:
  5          1.     Parent Companies: The ultimate parent company of Experian is
  6    Experian plc.
  7          2.     Subsidiaries Not Wholly Owned: The following companies are the
  8    US-based subsidiaries of Experian plc that are not wholly owned:
  9                 (a)    Central Source LLC
 10                 (b)    Online Data Exchange LLC
 11                 (c)    New Management Services LLC
 12                 (d)    VantageScore Solutions LLC
 13                 (e)    Opt-Out Services LLC
 14          3.     Publicly Held Companies: Experian plc owns 100 percent of Experian.
 15    Experian plc is registered as a public company in Jersey, Channel Islands, and is
 16    publicly traded on the London Stock Exchange.
 17
 18
       Dated:       August 15, 2019                JONES DAY
 19
 20
                                                   By: /s/ Ryan D. Ball
 21                                                   Ryan D. Ball
 22                                                Attorneys for Defendant
                                                   EXPERIAN INFORMATION
 23                                                SOLUTIONS, INC.
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                                                                     NOTICE OF INTERESTED PARTIES
                                                                      Case No. 8:19-cv-01257-JFW-PJWx
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